
977 So.2d 903 (2008)
STATE ex rel. Tyrone CLOFER
v.
STATE of Louisiana.
No. 2007-KH-1128.
Supreme Court of Louisiana.
March 7, 2008.
In re Clofer, Tyrone;  Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of West Feliciana, 20th Judicial District Court Div. B, No. 07-WCR-13; to the Court of Appeal, First Circuit, No. 2007 KW 0295.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; La.C.Cr.P. art. 351.
